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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )
                Plaintiffs-Petitioners,  )          No. 1:18-cv-10225-MLW
                                         )
        v.                               )
                                         )
KIRSTJEN M. NIELSEN, et al.,             )
                                         )
                Defendants-Respondents.  )
                                         )

        PETITIONERS’ ASSENTED-TO MOTION FOR EXTENSION OF TIME
                     AND CONTINUANCE OF HEARING

       Pursuant to Local Rule 7.2, Petitioners respectfully move this Court to: (1) extend the

deadline for the filing of Petitioners’ Reply in Support of Motion for Class Certification until

November 15, 2018; (2) extend the deadline for the filing of Respondents’ Sur-Reply in Opposition

to the Motion for Class Certification until November 21, 2018; and (3) continue the

commencement of the hearing on pending motions until December 7, 2018, due to scheduling

conflicts of the undersigned counsel.

       As grounds for this motion, Petitioners state as follows:

       1.      On October 11, 2018, the Court scheduled a hearing on the pending Motion for

Class Certification (Dkt. No. 46) and any other pending motions for December 6, 2018, at 9:00

a.m., to continue on December 7 at 9:00 a.m. if necessary. (Dkt. Nos. 168, 169.)

       2.      On October 15, 2018, the parties proposed a schedule for updated briefing on

Petitioner’s Motion for Class Certification, with Respondents’ Opposition due on November 7,

2018, Petitioners’ Reply due on November 14, 2018, and Respondents’ Sur-Reply due on


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November 20, 2018. (Dkt. No. 172 at 5-6.) On October 18, 2018, the Court adopted the parties’

proposed briefing schedule. (Dkt. No. 174.) On November 7, 2018, the parties filed a joint motion

to extend the page limits for Respondents’ Opposition and Petitioners’ Reply memoranda, and

Respondents also filed their Opposition memorandum. (Dkt. Nos. 177, 178.) On November 8,

2018, the Court allowed the motion for leave to file excess pages. (Dkt. No. 179.)

       3.      To address the issues raised in Respondents’ Opposition, Petitioners request a one-

day extension of time, until November 15, 2018, to file their Reply. To avoid prejudice to

Respondents, Petitioners also request a one-day extension of time, until November 21, 2018, for

Respondents to file their Sur-Reply.

       3.      Separately, on October 22, 2018, the Court of Appeals for the Federal Circuit

scheduled argument in Continental Circuits LLC v. Intel Corp., Ibiden USA Corp., & Ibiden Co.

Ltd., No. 18-1076, for December 6, 2018, in Washington, D.C. Kevin Prussia, lead counsel for

Petitioners in this matter, is also co-lead counsel for Defendants-Appellees in Continental Circuits.

       4.       Petitioners do not anticipate that the hearing on any pending motions in this case,

including the Motion for Class Certification, will require more than a single day of argument from

the parties. Given that the Court has already reserved December 7, 2018 for the hearing on pending

motions, Petitioners request that the hearing begin on that date.

       4.      Petitioners have conferred with Respondents’ counsel, who assent to this motion.

       WHEREFORE, pursuant to Local Rule 7.2, Petitioners respectfully move this Court to:

(1) extend the deadline for the filing of Petitioners’ Reply in Support of Motion for Class

Certification until November 15, 2018; (2) extend the deadline for the filing of Respondents’ Sur-

Reply in Opposition to the Motion for Class Certification until November 21, 2018; and

(3) continue the commencement of the hearing on pending motions until December 7, 2018.




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      Respectfully submitted this 13th day of November, 2018.



                                                s/ Kevin S. Prussia

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           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(A)(2)

       I, Kevin S. Prussia, hereby certify that in accordance with Local Rule 7.1(a)(2), counsel

for Petitioners and counsel for Respondents met and conferred in good faith on November 6 and

13, 2018, regarding resolution of this motion. Counsel for Respondents indicated that they do not

oppose this motion.

                                                    /s/ Kevin S. Prussia



                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 13, 2018, a true copy of the foregoing will be

electronically filed with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF).

                                                    s/ Kevin S. Prussia




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